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                                                                   Laura A. Briggs, Clerk
                                                                   U.S. District Court
                                                                   Southern District of Indiana

                                                                   By
                                                                                          Deputy Clerk




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                                                02/06/12
                                                      Filed Page 2 of 2Page
                                                            02/06/12    PageID
                                                                            3 of#:3
                                    123
                               PageID #: 121


 Addendum to Order Pursuant to 18 U.S.C. § 3582(c)

           3:98CR00017-002
 Cause No. _____________________

           Rickey Wayne Franklin
 Defendant _____________________


 As directed by 18 U.S.C. ' 3582(c)(2), the Court has considered the relevant factors in U.S.S.G. '
 1B1.10(b) and 18 U.S.C. ' 3553(a), and determined a sentence reduction is not appropriate for the
 following reason(s):

   ✔
 _____ 1) The defendant is not eligible for a reduction because the amendments listed in
       subsection (c) of U.S.S.G. ' 1B1.10 are not applicable to the defendant.

 _____ 2) The amendment is listed in subsection (c) of U.S.S.G. ' 1B1.10 and is applicable to the
       defendant, but it does not have the effect of lowering the defendant=s applicable guideline
       range (e.g. a statutory mandatory minimum term of imprisonment, binding plea agreement,
       career offender status).

 _____ 3) The defendant is eligible for a reduction under this amendment, but the Court has
       determined such a reduction is not appropriate because of the nature and seriousness of the
       danger to any person or the community that may be posed by a reduction in sentence.
       (Application Note 1(B) of U.S.S.G. ' 1B1.10.)

 _____ 4) The defendant is eligible for a reduction under this amendment. However, the Court
       has determined the post-sentencing conduct demonstrates the defendant may pose a danger
       to any person or the community by a reduction in sentence. (Application Note 1(B) of
       U.S.S.G. ' 1B1.10.)

   ✔
 _____ 5) Other (explain)

        ________________________________________________________________________
        The defendant's case did not involve cocaine base. Furthermore, he received the
        mandatory minimum sentence authorized by statute.
        ________________________________________________________________________

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